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 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
11   CATHY E. LANDEROS,               ) Case No. CV 20-6348-JPR
                                      )
12                     Plaintiff,     )
                                      )         J U D G M E N T
13                v.                  )
                                      )
14   KILOLO KIJAKAZI, Acting          )
     Commissioner of Social           )
15   Security,                        )
                                      )
16                     Defendant.     )

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18        For the reasons set forth in the accompanying Memorandum

19   Decision and Order, it is hereby ADJUDGED THAT (1) Plaintiff’s

20   request for an order remanding the case for further proceedings

21   is DENIED; (2) the Acting Commissioner’s request for an order

22   affirming her final decision is GRANTED; and (3) judgment is

23   entered in the Acting Commissioner’s favor.

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26   DATED: 1RYHPEHU
                                        JEAN P. ROSENBLUTH
27                                      U.S.
                                        U S MAGISTRATE JUDGE

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